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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division


 UNITED STATES OF AMERICA,et al.

                        Plaintiffs,

        V.                                          Civil Action No. 1:23cv0108(LMB/JFA)

 GOOGLE LLC,

                        Defendant.



                                              ORDER


        On April 26, 2024, defendant filed a motion to seal various pleadings involving four

 separate motions- a motion for summary judgment, a motion to exclude testimony from Robin

 Lee, a motion to exclude testimony from Adoria Lim, and a motion to exclude testimony of

 Timothy Simcoe. (Docket no. 605). Defendant also filed a combined set of99 exhibits in

 support of these four separate motions and has requested in this motion to seal that certain

 exhibits be filed under seal or that certain information in those exhibits be filed under seal.

 (Docket nos. 581-586, 588, 591, 595, 597-604). This combined set of exhibits is not separated

 by the individual motions they are filed in support of and several of the motions only involve a

 portion of these exhibits. The memorandum in support of this omnibus motion to seal includes

 appendix A in which defendant states it provides the basis for "the material it is requesting

 remain under seal" and information that plaintiffs or non-parties have designated as confidential.

 (Docket no. 606).'




        'This appendix addresses only the exhibits that were filed in support of the various
 motions and does not include any explanation, or support for, the various redactions in the
 memoranda filed by defendant.
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        Given defendant's approach in combining several separate substantive motions in a

 single motion to seal, the court will be addressing portions of this motion to seal in individual

 orders relating to the specific substantive motions. This order will address the motion to seal

 portions of the memorandum in support of defendant's motion to exclude the testimony of

 Adoria Lim. (Docket no. 576, 577). Since only a portion ofthe combined set of exhibits relates

 to the motion to exclude testimony from Ms. Lim {e.g. Exhibits 1, 5, 38, 62, 65, 68, 79, 97, 98,

 99), the court will issue a separate order that resolves the portion ofthe motion to seal relating to

 the combined set of exhibits once the redactions for the four separate motions are addressed.

        Initially, the court finds that the materials filed relating to this motion would require an

 analysis of the public's access under the First Amendment standard requiring that access may be

 restricted only if it is necessitated by a compelling government interest and the denial of access is

 narrowly tailored to serve that interest. See Va. Dep 't ofState Police v. Wash. Post, 386 F.3d

 567, 575(4th Cir. 2004); Doe v. Pub. Citizen, 749 F.3d 246, 266(4th Cir. 2014).

        The memorandum in support of the motion to exclude testimony from Ms. Lim filed in

 the public record includes redactions on pages 3-10, 13-16, 19, and 22-25. (Docket no. 576).

 Defendant has not provided any specific support for having this redacted information remain

 under seal in its memorandum in support. (Docket no. 606). Plaintiffs' "omnibus response to

 motions to seal" also does not include any support for having the information redacted in the

 memorandum remain under seal. (Docket no. 823). The memorandum in support of the motion

 to exclude testimony from Ms. Lim does not include any specific non-party information and no

 non-party has requested that any ofthe redacted information remain under seal. The parties and

 non-parties have requested that certain information embedded in several of exhibits cited in the
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 memorandum in support of the motion to exclude testimony from Ms. Lim should remain under

 seal, but not the information contained in the memorandum.

        Having reviewed the memorandum in support of the motion to exclude testimony Irom

 Adoria Lim, the submissions of the parties and non-parties, and taking into account the Fourth

 Circuit's directives, the court finds the redacted information is not of a nature that would justify

 restricting it from public access and the motion to seal this memorandum is denied.

        In accordance with this Order, within seven days defendant shall file in the public record

 an unredacted version of the memorandum in support of the motion to exclude testimony from

 Adoria Lim.


        Entered this 12th day of July, 2024.                         ./S/.
                                                        John F. Anderson
                                                        United States Magistrate Judge
                                                       John F. Anderson
 Alexandria, Virginia                                  United States Magistrate Judge
